Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 1 of 6 PageID 8131




                       EXHIBIT
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Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 2 of 6 PageID 8132

             **HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER**
       Nisha Mody, Vol II                                 April 08, 2015

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · ·FOR THE MIDDLE DISTRICT OF FLORIDA

 ·3· · · · · · · · · · ORLANDO DIVISION

 ·4·   HARRIS CORPORATION, a· · · ·)
 · ·   Delaware Corporation,· · · ·)
 ·5·   · · · · · · · · · · · · · · )
 · ·   · · ·Plaintiff,· · · · · · ·)
 ·6·   · · · · · · · · · · · · · · )
 · ·   · · · · · vs.· · · · · · · ·)Case No. 6:11-CV-00618
 ·7·   · · · · · · · · · · · · · · )· · · · ·CEM-KRS
 · ·   RUCKUS WIRELESS, INC., a· · )
 ·8·   Delaware Corporation,· · · ·)
 · ·   · · · · · · · · · · · · · · )
 ·9·   · · ·Defendants.· · · · · · )
 · ·   ____________________________)
 10

 11

 12

 13

 14

 15· *HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER*

 16· · · VIDEO DEPOSITION OF NISHA MARIE MODY, Ph.D.

 17· · · · · · · · ·Palo Alto, California

 18· · · · · · · · Wednesday, April 8, 2015

 19· · · · · · · · · · · ·Volume II

 20

 21

 22· REPORTED BY:

 23· REBECCA L. ROMANO, RPR, CSR No. 12546

 24· JOB NO. 1690

 25· PAGES 166-329


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Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 3 of 6 PageID 8133

           **HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER**
     Nisha Mody, Vol II                                 April 08, 2015

 ·1· included in her reports.· And so unless you can
 ·2· rephrase the question, I would instruct her not to
 ·3· answer.
 ·4· · · · · · MR. RUSNAK:· Okay.· Let me withdraw it
 ·5· and I'll try to rephrase it.
 ·6· · · · · · THE DEPONENT:· Okay.
 ·7· · · ·Q.· ·(By Mr. Rusnak)· Are there any documents
 ·8· that you believe you need in order to more
 ·9· accurately or more fully complete your analysis?
 10· · · ·A.· ·When we're talking about documents, we're
 11· not talking about access to people.· They're two
 12· different things, right.
 13· · · ·Q.· ·Well, let's start with documents.
 14· · · · · · Are there any other documents you believe
 15· you need in order to more accurately or more fully
 16· complete your analysis?
 17· · · ·A.· ·So I have --
 18· · · · · · MS. FINN:· Objection.· Compound and
 19· vague.
 20· · · · · · THE DEPONENT:· I -- my analysis is sound
 21· the way it is.
 22· · · ·Q.· ·(By Mr. Rusnak)· Okay.
 23· · · ·A.· ·I would be interested in understanding
 24· how on earth two databases from seven and nine
 25· years prior can be different in -- in 2005, 2006,


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Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 4 of 6 PageID 8134

           **HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER**
     Nisha Mody, Vol II                                 April 08, 2015

 ·1· speculation.
 ·2· · · · · · THE DEPONENT:· I think that there's very
 ·3· specific definitions and so I would not be
 ·4· comfortable answering that.· If you want to show me
 ·5· some case law on it, then we can talk about that
 ·6· case law.· But I'm -- I'm not comfortable just
 ·7· talking about this in isolation.· It's a very case
 ·8· product specific issue.
 ·9· · · ·Q.· ·(By Mr. Rusnak)· Okay.· For purposes of
 10· your damages analysis, though, you do not believe
 11· that the accused technology is performed by any
 12· component smaller than the entire accused products.
 13· · · · · · Is that your testimony?
 14· · · ·A.· ·That's not my testimony.
 15· · · ·Q.· ·Okay.· What is your testimony?
 16· · · · · · MS. FINN:· Objection.· Vague.
 17· · · · · · THE DEPONENT:· I think I've provided my
 18· testimony.· Would you ask a question?
 19· · · ·Q.· ·(By Mr. Rusnak)· Sure.
 20· · · ·A.· ·Okay.
 21· · · ·Q.· ·Do you -- do you believe that the accused
 22· technology -- the patented technology is performed
 23· by some component or series of components of the
 24· accused products?
 25· · · ·A.· ·I imagine it's performed by certain


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Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 5 of 6 PageID 8135

           **HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER**
     Nisha Mody, Vol II                                 April 08, 2015

 ·1· portions of -- of -- of an item.· I don't imagine
 ·2· it's performed by the plastic that might surround
 ·3· it, or something like that.
 ·4· · · ·Q.· ·So there -- there are parts of the
 ·5· accused product that don't incorporate the accused
 ·6· technology, correct?
 ·7· · · ·A.· ·I -- my understanding is that the accused
 ·8· technology -- so my understanding is that these
 ·9· products do -- are created to do one thing.
 10· There's no -- I mean, I guess they can be
 11· paperweights, right.· But they were created to do
 12· one thing.· And my understanding is that the
 13· patented invention -- I mean, it's -- as we talk
 14· about, they claim that their BeamFlex and SmartMesh
 15· networking technologies are superior and it's a
 16· point of differentiation.
 17· · · ·Q.· ·So your understanding is the accused
 18· products are designed to do one thing.
 19· · · · · · And is that one thing the patented
 20· technology?
 21· · · ·A.· ·I'm not saying that the patented
 22· technology is the entire product, no.· That's why
 23· I've had to isolate the -- the value.· That's why
 24· I've gone through this whole analysis to isolate
 25· the value of the technology.· I've been very


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Case 6:11-cv-00618-CEM-KRS Document 230-1 Filed 05/22/15 Page 6 of 6 PageID 8136

            **HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER**
      Nisha Mody, Vol II                                 April 08, 2015

 ·1· STATE OF CALIFORNIA· · · ·) ss:
 · · · · · · · · · · · · · · · )
 ·2· COUNTY OF CONTRA COSTA· · )

 ·3

 ·4· · · ·I, Rebecca L. Romano, CSR. 12546, do hereby

 ·5· certify:

 ·6· · · ·That the foregoing deposition testimony was

 ·7· taken before me at the time and place therein set

 ·8· forth and at which time the witness was

 ·9· administered the oath;

 10· · · ·That the testimony of the witness and all

 11· objections made by counsel at the time of the

 12· examination were recorded stenographically by me,

 13· and were thereafter transcribed under my direction

 14· and supervision, and that the foregoing pages

 15· contain a full, true and accurate record of all

 16· proceedings and testimony to the best of my skill

 17· and ability.

 18· · · ·I further certify that I am neither counsel

 19· for any party to said action, nor am I related to

 20· any party to said action, nor am I in any way

 21· interested in the outcome thereof.

 22· · · ·IN WITNESS WHEREOF, I have subscribed my name

 23· this 13th day of April, 2015.

 24· · · · · · · · · · · __________________________
 · · · · · · · · · · · · Rebecca L. Romano, RPR,
 25· · · · · · · · · · · CSR. No 12546


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